917 F.2d 1302Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James H. REID, Plaintiff-Appellant,andRobert Bailey, Floyd Honesty, Edward Peterson, CharlesSatchell, Willie Scarborough, Jr., Robert Wheless, MichaelWilliams, Taj Mamduh, Charles Everette, Jr., Joseph Gills,Zeb Gaston, Elly Joseph Huggins, Plaintiffs,v.Edward W. MURRAY, Toni V. Bair, Samuel Pruett, John B.Taylor, Defendants-Appellees.
    No. 90-6124.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 1, 1990.Decided Nov. 8, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Robert R. Merhige, Jr., Senior District Judge.  (CA-90-144-R)
      James H. Reid, appellant pro se.
      Richard Francis Gorman, III, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before DONALD RUSSELL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      James H. Reid appeals an order denying his motion for partial summary judgment on the issue that the implementation of a new inmate pay system violated the ex post facto clause.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    